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                            UNITED STATES DISTRICT COURT
                                                                                  FILED
                                                                            JAMES J . VILT, JR. - CLERK
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE                                    MAY - 6 2025
 UNITED STATES OF AMERICA                                                     U.S. DISTRICT COURT
                                                                             WEST'N. DIST. KENTUCKY
                                                                     INDICTMENT
 V,
                                                              NO.    3~kS.~63 ~
                                                                     18 U.S.C. § 922(g)(l)
 MARK FOSTER, JR.                                                    18 U.S.C. § 922(0)
 (Counts 1-8, 10-12, 14-17, 20-22, 25-27, 30, 31, 36-38, 41-44)      18 U.S.C. § 924(a)(2)
 DEVANTE RICE                                                        18 U.S.C. § 924(a)(8)
 (Counts 9, 13, 18, 19, 23, 24, 28, 29, 32-35, 39, 40, 45)           18 U.S.C. § 924(c)(l)(A)
                                                                     18 U.S.C. § 924(c)(l)(B)(ii)
                                                                     18 U.S.C. § 924(d)
                                                                     18 U.S.C. § 933(a)(l)
                                                                     18 U.S.C. § 933(b)
                                                                     21 U.S.C. § 841(a)(l)
                                                                     21 U.S.C. § 841(b)(l)(A)
                                                                     21 U.S.C. § 841(b)(l)(B)
                                                                     21 U.S.C. § 841(b)(l)(C)
                                                                     21 U.S.C. § 853
                                                                     26 U.S.C. § 5841
                                                                     26 U.S.C. § 5861(d)
                                                                     26 U.S.C. § 5871
                                                                     26 u.s.c. § 5872
                                                                     28 U.S.C. § 2461


 The Grand Jury charges:

                                             COUNT!
                              (Distribution ofControlled Substances)

        On or about October 29, 2024, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly and intentionally distributed 50

 grams or more of methamphetamine, and 40 grams or more of a mixture and substance containing

 a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide, commonly

 known as "fentanyl," Schedule II controlled substances as defined in Title 21, United States Code,

 Section 812.

        In violation of Title 21, United States Code, Sections 841(a)(l), (b)(l)(A) and (b)(l )(B).
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 The Grand Jury further charges:
                                            COUNT2
                                    (Distribution ofFentanyl)

        On or about November 5, 2024, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly and intentionally distributed 40

 grams or more of a mixture and substance containing a detectable amount of N-phenyl-N-[1-(2-

 phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

 controlled substance as defined in Title 21, United States Code, Section 812.

        In violation of Title 21, United States Code, Sections 841(a)(l), and (b)(l)(B).



 The Grand Jury further charges:
                                            COUNT3
                         (Possession ofa Firearm by a Prohibited Person)

        On or about November 5, 2024, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed, in and affecting

 commerce, a Smith & Wesson, model Governor, .45 caliber revolver, bearing serial number

 DJT7466, and ammunition, with knowledge that he had previously been convicted in a court of a

 crime punishable by imprisonment for a term exceeding one year, to wit:

        On or about March 30, 2018, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 14-CR-3165, MARK FOSTER, JR., was convicted of
        the offenses of Receiving Stolen Property (Firearm), and Illegal Possession of a
        Controlled Substance in the First Degree, Heroin; and

        On or about June 15, 2021, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 17-CR-0737, MARK FOSTER, JR., was convicted of the
        offenses of Complicity to Trafficking in a Controlled Substance in the First Degree,
        Opioids; Complicity to Trafficking in a Controlled Substance in the First Degree,
        Methamphetamine; Possession of a Handgun by a Convicted Felon; and Tampering
        with Physical Evidence.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



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 The Grand Jury further charges:

                                             COUNT4
                              (Distribution of Controlled Substances)

        On or about November 19, 2024, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly and intentionally distributed 40

 grams or more of a mixture and substance containing a detectable amount of N-phenyl-N-[1-(2-

 phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

 controlled substance as defined in Title 21, United States Code, Section 812, and a mixture or

 substance containing a detectable amount of heroin, a Schedule I controlled substance as defined

 in Title 21, United States Code, Section 812.

        In violation of Title 21, United States Code, Sections 841(a)(l), (b)(l)(B), and (b)(l)(C).



 The Grand Jury further charges:

                                           COUNTS
                   (Possession ofa Firearm in Furtherance ofDrug Trafficking)

        On or about November 19, 2024, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed a firearm in furtherance

 of a drug trafficking crime for which he may be prosecuted in a court of the United States.

        In violation of Title 18, United States Code, Section 924(c)(l)(A).



 The Grand Jury fm1her charges:

                                             COUNT6
                                     (Distribution ofFentanyl)

        On or about November 20, 2024, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly and intentionally distributed 40

 grams or more of a mixture and substance containing a detectable amount of N-phenyl-N-[1-(2-

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 phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

 controlled substance as defined in Title 21, United States Code, Section 812.

        In violation of Title 21, United States Code, Sections 841(a)(l), and (b)(l)(B).



 The Grand Jury further charges:

                                          COUNT7
                  (Possession ofa Firearm in Furtherance ofDrug Trafficking)

        On or about November 20, 2024, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed a firearm in furtherance

 of a drug trafficking crime for which he may be prosecuted in a court of the United States.

        In violation of Title 18, United States Code, Section 924(c)(l)(A).



 The Grand Jury further charges:

                                             COUNTS
                         (Possession of a Firearm by a Prohibited Person)

        On or about November 20, 2024, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed, in and affecting

 commerce, a Glock, model 17, 9 millimeter pistol, bearing serial number LB490, and a Taurus,

 model G2c, 9 millimeter pistol, bearing serial number TMS50575, and ammunition, with

 knowledge that he had previously been convicted in a court of a crime punishable by imprisonment

 for a term exceeding one year, to wit:

        On or about March 30, 2018, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 14-CR-3165, MARK FOSTER, JR., was convicted of
        the offenses of Receiving Stolen Property (Firearm), and Illegal Possession of a
        Controlled Substance in the First Degree, Heroin; and




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        On or about June 15, 2021, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 17-CR-0737, MARK FOSTER, JR., was convicted of the
        offenses of Complicity to Trafficking in a Controlled Substance in the First Degree,
        Opioids; Complicity to Trafficking in a Controlled Substance in the First Degree,
        Methamphetamine; Possession of a Handgun by a Convicted Felon; and Tampering
        with Physical Evidence.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



 The Grand Jury further charges:

                                           COUNT9
                        (Possession ofa Firearm by a Prohibited Person)

        On or about November 22, 2024, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, DEVANTE RICE, knowingly possessed, in and affecting commerce,

 an FN, model 509, 9 millimeter pistol, bearing serial number GKS0098548; an Anderson

 Manufacturing, model AM-15, multi-caliber rifle, bearing serial number 19273280; and

 ammunition, with knowledge that he had previously been convicted in a com1 of a crime

 punishable by imprisonment for a term exceeding one year, to wit:

        On or about January 10, 2014, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 13-CR-2145, DEVANTE RICE, was convicted of the
        offenses of Burglary in the Second Degree, and Receiving Stolen Property over
        $500;

        On or about April 30, 2019, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 18-CR-1452, DEVANTE RICE, was convicted of the offense of
        Possession of a Handgun by a Convicted Felon; and

        On or about August 8, 2023, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 22-CR-0770, DEVANTE RICE, was convicted of the
        offenses of Complicity to Possession of a Handgun by a Convicted Felon; Theft by
        Unlawful Taking - Firearm (two counts); and Theft by Unlawful Taking over $500
        but Under $10,000.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).




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 The Grand Jury further charges:

                                             COUNT IO
                                      (Distribution ofFentanyl)

         On or about December 2, 2024, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly and intentionally distributed 40

 grams or more of a mixture and substance containing a detectable amount ofN-phenyl-N-[1-(2-

 phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

 controlled substance as defined in Title 21, United States Code, Section 812.

         In violation of Title 21, United States Code, Sections 84l(a)(l), and (b)(l)(B).



 The Grand Jury further charges:

                                             COUNT 11
                                        (Firearms Trafficking)

         Beginning on or about December 2, 2024 and continuing to on or about April 7, 2025, in

 the Western District of Kentucky, Jefferson County, Kentucky, the defendant, MARK FOSTER,

 JR., did ship, transport, transfer, cause to be transported, or otherwise dispose of a firearm:

  DATE                       FIREARM
  December 2, 2024               (a) a Glock, model 19x, 9 millimeter pistol, bearing serial
                                     number BYNB520;
                                 (b) a Glock, model 19x, 9 millimeter pistol, bearing serial
                                     number CBGB384
  December 16, 2024              (a) a Sig Sauer, model P320, 9 millimeter pistol, bearing serial
                                     number 58H076852
  January 30, 2025               (a) a Glock, model 17, 9 millimeter pistol, bearing serial number
                                     BFRB410;
                                 (b) a Glock, model 48, 9 millimeter pistol, bearing serial number
                                     BKYU597
  February 3, 2025               (a) a Smith & Wesson, model SW40VE, 40 caliber pistol,
                                     bearing serial number DTT9267;
                                 (b) a Smith & Wesson, model M&P, 9 millimeter pistol, bearing
                                     serial number HYZ0228
  February 14, 2025              (a) a Glock, model 48, 9 millimeter pistol, bearing serial number
                                     BKMV144


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  March 20, 2025                 (a) an Anderson Manufacturing, model AM-15, multi-caliber
                                     rifle, bearing serial number 18176785
  April 7, 2025                  (a) a Tisas, model PX-5.7, 5.7 caliber pistol, bearing serial
                                     number T0620-24DJ06300

 to another person in or otherwise affecting commerce, knowing or having reasonable cause to

 believe that the use, carrying, or possession of the firearm by the person would constitute a felony.

        In violation of Title 18, United States Code, Sections 933(a)(l) and (b).



 The Grand Jury further charges:

                                           COUNT12
                         (Possession ofa Firearm by a Prohibited Person)

        On or about December 2, 2024, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed, in and affecting

 commerce, a Glock, model 19x, 9 millimeter pistol, bearing serial number BYNB520; and a Glock,

 model 19x, 9 millimeter pistol, bearing serial number CBGB384, and ammunition, with

 knowledge that he had previously been convicted in a court of a crime punishable by imprisonment

 for a te1m exceeding one year, to wit:

        On or about March 30, 2018, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 14-CR-3165, MARK FOSTER, JR., was convicted of
        the offenses of Receiving Stolen Property (Firearm), and Illegal Possession of a
        Controlled Substance in the First Degree, Heroin; and

         On or about June 15, 2021, in Jefferson Circuit Court, Jefferson County, Kentucky,
         in Case Number 17-CR-0737, MARK FOSTER, JR., was convicted of the
         offenses of Complicity to Trafficking in a Controlled Substance in the First Degree,
         Opioids; Complicity to Trafficking in a Controlled Substance in the First Degree,
         Methamphetamine; Possession of a Handgun by a Convicted Felon; and Tampering
         with Physical Evidence.

         In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).




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 The Grand Jury further charges:

                                          COUNT 13
                        (Possession ofa Firearm by a Prohibited Person)

        On or about December 9, 2024, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, DEVANTE RICE, knowingly possessed, in and affecting commerce, a

 Glock, model 19, 9 millimeter pistol, bearing serial number ABTL244; and a Glock, model 43, 9

 millimeter pistol, bearing serial number BBAP626, and ammunition, with knowledge that he had

 previously been convicted in a court of a crime punishable by imprisonment for a term exceeding

 one year, to wit:

        On or about January 10, 2014, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 13-CR-2145, DEVANTE RICE, was convicted of the
        offenses of Burglary in the Second Degree, and Receiving Stolen Property over
        $500;

        On or about April 30, 2019, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 18-CR-1452, DEVANTE RICE, was convicted of the offense of
        Possession of a Handgun by a Convicted Felon; and

        On or about August 8, 2023, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 22-CR-0770, DEVANTE RICE, was convicted of the
        offenses of Complicity to Possession of a Handgun by a Convicted Felon; Theft by
        Unlawful Taking -Firearm (two counts); and Theft by Unlawful Taking over $500
        but Under $10,000.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



 The Grand Jmy further charges:

                                           COUNT14
                                    (Distribution ofFentanyl)

         On or about December 16, 2024, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly and intentionally distributed 40

 grams or more of a mixture and substance containing a detectable amount of N-phenyl-N-[1-(2-



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 phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

 controlled substance as defined in Title 21, United States Code, Section 812.

        In violation of Title 21, United States Code, Sections 84l(a)(l), and (b)(l)(B).



 The Grand Jury further charges:

                                           COUNT 15
                         (Possession ofa Firearm by a Prohibited Person)

        On or about December 16, 2024, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed, in and affecting

 commerce, a Sig Sauer, model P320, 9 millimeter pistol, bearing serial number 58H076852, and

 ammunition, with knowledge that he had previously been convicted in a court of a crime

 punishable by imprisonment for a term exceeding one year, to wit:

        On or about March 30, 2018, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 14-CR-3165, MARK FOSTER, JR., was convicted of
        the offenses of Receiving Stolen Property (Firearm), and Illegal Possession of a
        Controlled Substance in the First Degree, Heroin; and

        On or about June 15, 2021, in Jefferson Circuit Comt, Jefferson County, Kentucky,
        in Case Number 17-CR-0737, MARK FOSTER, JR., was convicted of the
        offenses of Complicity to Trafficking in a Controlled Substance in the First Degree,
        Opioids; Complicity to Trafficking in a Controlled Substance in the First Degree,
        Methamphetamine; Possession of a Handgun by a Convicted Felon; and Tampering
        with Physical Evidence.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



 The Grand Jury fi.uther charges:

                                            COUNT16
                                     (Distribution ofFentanyl)

        On or about January 14, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly and intentionally distributed 40


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 grams or more of a mixture and substance containing a detectable amount of N-phenyl-N-[1-(2-

 phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

 controlled substance as defined in Title 21, United States Code, Section 812.

        In violation of Title 21, United States Code, Sections 841(a)(l), and (b)(l)(B).



 The Grand Jury further charges:

                                            COUNT17
                     (Possession ofa Firearm in Furtherance ofDrug Trafficking)

        On or about January 14, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed a firearm in furtherance

 of a drug trafficking crime for which he may be prosecuted in a court of the United States.

        In violation of Title 18, United States Code, Section 924(c)(1 )(A).



 The Grand Jury further charges:

                                            COUNT18
                          (Possession ofa Firearm by a Prohibited Person)

        On or about January 14, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, DEVANTE RICE, knowingly possessed, in and affecting commerce, a

 Glock, model 43, 9 millimeter pistol, bearing serial number ADER051; a Sig Sauer, model P320,

 9 millimeter pistol, bearing serial number M18A101018; a Smith & Wesson, model M&P 40

 Shield, .40 caliber pistol, bearing serial number HAW4620; a Stoeger, model STR-9C, 9

 millimeter pistol, bearing serial number T6429-21S20675; a Taurus, model G3c, 9 millimeter

 pistol, bearing serial number ACHl 40097; and ammunition, with knowledge that he had

 previously been convicted in a court of a crime punishable by imprisonment for a term exceeding

 one year, to wit:


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        On or about Janumy 10, 2014, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 13-CR-2145, DEVANTE RICE, was convicted of the
        offenses of Burglary in the Second Degree, and Receiving Stolen Prope1iy over
        $500;

        On or about April 30, 2019, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 18-CR-1452, DEVANTE RICE, was convicted of the offense of
        Possession of a Handgun by a Convicted Felon; and

        On or about August 8, 2023, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 22-CR-0770, DEVANTE RICE, was convicted of the
        offenses of Complicity to Possession of a Handgun by a Convicted Felon; Theft by
        Unlawful Taking-Firearm (two counts); and Theft by Unlawful Taking over $500
        but Under $10,000.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



 The Grand Jury further charges:

                                          COUNT 19
                        (Possession ofa Firearm by a Prohibited Person)

        On or about January 16, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, DEVANTE RICE, knowingly possessed, in and affecting commerce, a

 Glock, model 17, 9 millimeter pistol, bearing serial number AFSY273; and a Glock, model 19, 9

 millimeter pistol, bearing serial number CBVA953, with knowledge that he had previously been

 convicted in a court of a crime punishable by imprisonment for a term exceeding one year, to wit:

        On or about January 10, 2014, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 13-CR-2145, DEVANTE RICE, was convicted of the
        offenses of Burglary in the Second Degree, and Receiving Stolen Property over
        $500;

        On or about April 30, 2019, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 18-CR-1452, DEVANTE RICE, was convicted of the offense of
        Possession of a Handgun by a Convicted Felon; and




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        On or about August 8, 2023, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 22-CR-0770, DEVANTE RICE, was convicted of the
        offenses of Complicity to Possession of a Handgun by a Convicted Felon; Theft by
        Unlawful Taking-Firearm (two counts); and Theft by Unlawful Taking over $500
        but Under $10,000.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



 The Grand Jury further charges:

                                           COUNT20
                                    (Distribution ofFentanyl)

        On or about January 30, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly and intentionally distributed 40

 grams or more of a mixture and substance containing a detectable amount ofN-phenyl-N-[1-(2-

 phenylethyl)-4-piperidinyl) 12ropenamide, commonly known as "fentanyl," a Schedule II

 controlled substance as defined in Title 21, United States Code, Section 812.

        In violation of Title 21, United States Code, Sections 841(a)(l), and (b)(l)(B).



 The Grand Jury fmther charges:

                                           COUNT 21
                         (Possession ofa Firearm by a Prohibited Person)

        On or about January 30, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed, in and affecting

 commerce, a Glock, model 17, 9 millimeter pistol, bearing serial number BFRB410; a Glock,

 model 48, 9 millimeter pistol, bearing serial number BKYU597, and ammunition, with knowledge

 that he had previously been convicted in a court of a crime punishable by imprisonment for a term

 exceeding one year, to wit:




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        On or about March 30, 2018, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 14-CR-3165, MARK FOSTER, JR., was convicted of
        the offenses of Receiving Stolen Property (Firearm), and Illegal Possession of a
        Controlled Substance in the First Degree, Heroin; and

        On or about June 15, 2021, in Jefferson Circuit Comt, Jefferson Com1ty, Kentucky,
        in Case Number 17-CR-0737, MARK FOSTER, JR., was convicted of the
        offenses of Complicity to Trafficking in a Controlled Substance in the First Degree,
        Opioids; Complicity to Trafficking in a Controlled Substance in the First Degree,
        Methamphetamine; Possession of a Handgun by a Convicted Felon; and Tampering
        with Physical Evidence.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



 The Grand Jury further charges:

                                         COUNT22
                  (Possession ofa Firearm in Furtherance ofDrug Trafficking)

        On or about January 30, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed a firearm in furtherance

 of a drng trafficking crime for which he may be prosecuted in a court of the United States.

        In violation of Title 18, United States Code, Section 924(c)(l)(A).



 The Grand Jury further charges:

                                           COUNT23
                         (Possession ofa Firearm by a Prohibited Person)

        On or about February 3, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, DEVANTE RICE, knowingly possessed, in and affecting commerce, a

 Smith & Wesson, model SW40VE, .40 caliber pistol, bearing serial number DTT9267; and a Smith

 & Wesson, model M&P 9 Shield, 9 millimeter pistol, bearing serial number HYZ0228, with

 knowledge that he had previously been convicted in a court of a crime punishable by imprisonment

 for a term exceeding one year, to wit:


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        On or about January 10, 2014, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 13-CR-2145, DEVANTE RICE, was convicted of the
        offenses of Burglary in the Second Degree, and Receiving Stolen Property over
        $500;

        On or about April 30, 2019, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 18-CR-1452, DEVANTE RICE, was convicted of the offense of
        Possession of a Handgun by a Convicted Felon; and

        On or about August 8, 2023, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 22-CR-0770, DEVANTE RICE, was convicted of the
        offenses of Complicity to Possession of a Handgun by a Convicted Felon; Theft by
        Unlawful Taking -Firearm (two counts); and Theft by Unlawful Taking over $500
        but Under $10,000.
        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



 The Grand Jury further charges:

                                          COUNT24
                        (Possession ofa Firearm by a Prohibited Person)

        On or about February 10, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, DEVANTE RICE, knowingly possessed, in and affecting commerce,

 an HS Produkt, model Hellcat, 9 millimeter pistol, bearing serial number BB192565; an HS

 Produkt, model XDM, .40 caliber pistol, bearing serial number MG289701; a Taurus, model

 PTl 11 Millennium G2, 9 millimeter pistol, bearing serial number TKU30350; a Glock, model

 43X, 9 millimeter pistol, bearing serial number BTGC189; a Smith & Wesson, model 42, .38

 caliber revolver, bearing serial number 16362; a Smith & Wesson, model SW40VE, .40 caliber

 pistol, bearing serial number DXA0l 01; a Taurus, model GX4, 9 millimeter pistol, bearing serial

 number 1GA73760; a Smith & Wesson, model M&P 45 Shield, .45 caliber pistol, bearing serial

 number HUB5601; a Ruger, Model LCP II, .380 caliber pistol, bearing serial number 380609706,

 and ammunition, with knowledge that he had previously been convicted in a court of a crime

 punishable by imprisonment for a term exceeding one year, to wit:


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        On or about January 10, 2014, in Jefferson Circuit Comi, Jefferson County,
        Kentucky, in Case Number 13-CR-2145, DEVANTE RICE, was convicted of the
        offenses of Burglary in the Second Degree, and Receiving Stolen Property over
        $500;

        On or about April 30, 2019, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 18-CR-1452, DEVANTE RICE, was convicted of the offense of
        Possession of a Handgun by a Convicted Felon; and

        On or about August 8, 2023, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 22-CR-0770, DEVANTE RICE, was convicted of the
        offenses of Complicity to Possession of a Handgun by a Convicted Felon; Theft by
        Unlawful Taking -Firearm (two counts); and Theft by Unlawful Taking over $500
        but Under $10,000.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



 The Grand Jury further charges:

                                           COUNT25
                                    (Distribution ofFentanyl)

        On or about February 14, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly and intentionally distributed 40

 grams or more of a mixture and substance containing a detectable amount ofN-phenyl-N-[1-(2-

 phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

 controlled substance as defined in Title 21, United States Code, Section 812.

        In violation of Title 21, United States Code, Sections 841(a)(l), and (b)(l)(B).



 The Grand Jury further charges:

                                         COUNT 26
                  (Possession ofa Firearm in Furtherance ofDrug Trafficking)

        On or about February 14, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed a fireaim in furtherance



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 of a drug trafficking crime for which he may be prosecuted in a court of the United States.

        In violation of Title 18, United States Code, Section 924(c)(l)(A).



 The Grand Jury further charges:

                                           COUNT27
                         (Possession ofa Firearm by a Prohibited Person)

        On or about February 14, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed, in and affecting

 commerce, a Glock, model 48, 9 millimeter pistol, bearing serial number BKMV144, and

 ammunition, with knowledge that he had previously been convicted in a comt of a crime

 punishable by imprisonment for a term exceeding one year, to wit:

        On or about March 30, 2018, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 14-CR-3165, MARK FOSTER, JR., was convicted of
        the offenses of Receiving Stolen Property (Firearm), and Illegal Possession of a
        Controlled Substance in the First Degree, Heroin; and

        On or about June 15, 2021, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 17-CR-0737, MARK FOSTER, JR., was convicted of the
        offenses of Complicity to Trafficking in a Controlled Substance in the First Degree,
        Opioids; Complicity to Trafficking in a Controlled Substance in the First Degree,
        Methamphetamine; Possession of a Handgun by a Convicted Felon; and Tampering
        with Physical Evidence.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



 The Grand Jury further charges:

                                            COUNT28
                         (Possession of a Firearm by a Prohibited Person)

        On or about February 24, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, DEV ANTE RICE, knowingly possessed, in and affecting commerce, a

 Glock, model 26, 9 millimeter pistol, bearing serial number VCZI60; a Taurus, model G2C, 9


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 millimeter pistol, bearing serial number TMW76065, and ammunition, with knowledge that he

 had previously been convicted in a comt of a crime punishable by imprisonment for a term

 exceeding one year, to wit:

         On or about January 10, 2014, in Jefferson Circuit Court, Jefferson County,
         Kentucky, in Case Number 13-CR-2145, DEVANTE RICE, was convicted of the
         offenses of Burglary in the Second Degree, and Receiving Stolen Property over
         $500;

         On or about April 30, 2019, in Jefferson Circuit Court, Jefferson County, Kentucky,
         in Case Number 18-CR-1452, DEVANTE RICE, was convicted of the offense of
         Possession of a Handgun by a Convicted Felon; and

         On or about August 8, 2023, in Jefferson Circuit Comt, Jefferson County,
         Kentucky, in Case Number 22-CR-0770, DEVANTE RICE, was convicted of the
         offenses of Complicity to Possession of a Handgun by a Convicted Felon; Theft by
         Unlawful Taking - Firearm (two counts); and Theft by Unlawful Taking over $500
         but Under $10,000.

         In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



 The Grand Jury ftnther charges:

                                             COUNT29
                                        (Firearms Trafficking)

         Beginning on or about Februa1y 24, 2025, and continuing to on or about April 7, 2025, in

 the Western District of Kentucky, Jefferson County, Kentucky, the defendant, DEVANTE RICE,

 did ship, transport, transfer, cause to be transpo1ted, or otherwise dispose of a firearm:

  DATE                          FIREARM
  February 24, 2025                 (a) a Glock, model 26, 9 millimeter pistol, bearing serial
                                        number VCZ160;
                                    (b) a Taurus, model G2C, 9 millimeter pistol, bearing serial
                                        number TMW76065




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  March 10, 2025             (a) a Smith & Wesson, model M&P 9 Shield, 9 millimeter
                                  pistol, bearing serial number JBV9885;
                             (b) an FN, model 509, 9 millimeter pistol, bearing serial
                                  number GKS0185799;
                             (c) a Glock, model 19X, 9 millimeter pistol, bearing serial
                                  number BURM452;
                             (d) a Stoeger, model STR-9, 9 millimeter pistol, bearing serial
                                  number T6429-21U12019;
                             (e) an HS Produkt, model XD9, 9 millimeter pistol, bearing
                                  serial number BA150108;
                             (f) an HS Produkt, model XDS, 9 millimeter pistol, bearing
                                  serial number BB295666;
                             (g) a Taurus, model G2c, 9 millimeter pistol, bearing serial
                                  number TMA69477
  March 11, 2025             (a) a Rock River Arms Inc., model LAR 15, 5.56 caliber short
                                  barrel rifle, bearing serial number AP127614
  March 25, 2025             (a) a Bersa, model BAR9, 9 millimeter pistol, bearing serial
                                  number ABA0430;
                             (b) an HS Produkt, model XDE, .45 caliber pistol, bearing
                                  serial number HEl 11742;
                             (c) a Smith & Wesson, model M&P 9 Shield, 9 millimeter
                                  pistol, bearing serial number NKC2123
  April 1, 2025              (a) a Just Right Carbines, model J R Carbine, 9 millimeter
                                  rifle, bearing serial number JRCV096428;
                             (b) a Chiappa Firearms LTD, model 1911-22, .22 caliber
                                  pistol, bearing serial number 13005528;
                             (c) a Ruger, model LCP, .380 caliber pistol, bearing serial
                                  number 371034778;
                             (d) a Glock, model 43, 9 millimeter pistol, bearing serial
                                  number BHYNO0l;
                             (e) a Taurus, model 85, .38 special revolver, bearing serial
                                  number IW73012;
                             (f) a Taurus, model PTl 11 G2c, 9 millimeter pistol, bearing
                                  serial number ADB015371;
                             (g) an HS Produkt, model XD9, 9 millimeter pistol, bearing
                                  serial number BB518774
  April 7, 2025              (h) a Glock, model 17, 9 millimeter pistol, bearing serial
                                  number BUAK012;
                             (i) a Glock, model 48, 9 millimeter pistol, bearing serial
                                  number BWDW354;
                              G) a Smith & Wesson, model M&P 380 Shield, .380 caliber
                                  pistol, bearing serial number NMX5564;
                              (k) a Derya, model DY9, 9 millimeter pistol, bearing serial
                                  number TG970-24L21979;
                              (1) a Glock, model 19, 9 millimeter pistol, bearing serial
                                  number BSXD429;
                              (m)a Smith & Wesson, model M&P 9C, 9 millimeter pistol,
                                  bearing serial number HZR2303;
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                                    (n) a Ruger, model P95, 9 millimeter pistol, bearing serial
                                        number 317-62932;
                                    (o) a Glock, model 43X, 9 millimeter pistol, bearing serial
                                        number CEFN564;
                                    (p) an FN, model 509, 9 millimeter pistol, bearing serial
                                        number GKS0262328

 to another person in or otherwise affecting commerce, knowing or having reasonable cause to

 believe that the use, can')'ing, or possession of the firearm by the person would constitute a felony.

        In violation of Title 18, United States Code, Sections 933(a)(l) and (b).



 The Grand Jury further charges:

                                             COUNT30
                                      (Distribution ofFentanyl)

        On or about March 6, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly and intentionally distributed 40

 grams or more of a mixture and substance containing a detectable amount ofN-phenyl-N-[1-(2-

 phenylethyl)-4-piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II

 controlled substance as defined in Title 21, United States Code, Section 812.

        In violation of Title 21, United States Code, Sections 841(a)(l), and (b)(l)(B).



 The Grand Jury further charges:

                                             COUNT31
                          (Possession of a Firearm by a Prohibited Person)

         On or about March 6, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed, in and affecting

 commerce, a Glock, model 23, .40 caliber pistol, bearing serial number FHG482, and ammunition,

 with knowledge that he had previously been convicted in a court of a crime punishable by

 imprisonment for a term exceeding one year, to wit:

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        On or about March 30, 2018, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number l 4-CR-3165, MARK FOSTER, JR., was convicted of
        the offenses of Receiving Stolen Prope1iy (Firearm), and Illegal Possession of a
        Controlled Substance in the First Degree, Heroin; and

        On or about June 15, 2021, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 17-CR-0737, MARK FOSTER, JR., was convicted of the
        offenses of Complicity to Trafficking in a Controlled Substance in the First Degree,
        Opioids; Complicity to Trafficking in a Controlled Substance in the First Degree,
        Methamphetamine; Possession of a Handgun by a Convicted Felon; and Tampering
        with Physical Evidence.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



 The Grand Jury further charges:

                                          COUNT32
                        (Possession ofa Firearm by a Prohibited Person)

        On or about March 10, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, DEVANTE RICE, knowingly possessed, in and affecting commerce, a

 Smith & Wesson, model M&P 9 Shield, 9 millimeter pistol, bearing serial number JBV9885; an

 FN, model 509, 9 millimeter pistol, bearing serial number GKS0185799; a Glock, model 19X, 9

 millimeter pistol, bearing serial number BURM452; a Stoeger, model STR-9, 9 millimeter pistol,

 bearing serial number T6429-21 Ul2019; an HS Produkt, model XD9, 9 millimeter pistol, bearing

 serial number BA150108; an HS Produkt, model XDS, 9 millimeter pistol, bearing serial number

 BB295666; a Taurus, model G2c, 9 millimeter pistol, bearing serial number TMA69477; and

 ammunition, with knowledge that he had previously been convicted in a court of a crime

 punishable by imprisonment for a term exceeding one year, to wit:

        On or about January 10, 2014, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 13-CR-2145, DEVANTE RICE, was convicted of the
        offenses of Burglmy in the Second Degree, and Receiving Stolen Property over
        $500;




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        On or about April 30, 2019, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 18-CR-1452, DEVANTE RICE, was convicted of the offense of
        Possession of a Handgun by a Convicted Felon; and

        On or about August 8, 2023, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 22-CR-0770, DEVANTE RICE, was convicted of the
        offenses of Complicity to Possession of a Handgun by a Convicted Felon; Theft by
        Unlawful Taking- Firearm (two counts); and Theft by Unlawful Taking over $500
        but Under $10,000.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



 The Grand Jury further charges:

                                           COUNT33
                        (Possession of a Firearm by a Prohibited Person)

        On or about March 11, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, DEVANTE RICE, knowingly possessed, in and affecting commerce, a

 Rock River Arms Inc., model LAR 15, 5.56 caliber short barrel rifle, bearing serial number

 AP127614; and ammunition, with knowledge that he had previously been convicted in a court of

 a crime punishable by imprisonment for a term exceeding one year, to wit:

        On or about January 10, 2014, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 13-CR-2145, DEVANTE RICE, was convicted of the
        offenses of Burglary in the Second Degree, and Receiving Stolen Property over
        $500;

        On or about April 30, 2019, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 18-CR-1452, DEVANTE RICE, was convicted of the offense of
        Possession of a Handgun by a Convicted Felon; and

        On or about August 8, 2023, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 22-CR-0770, DEVANTE RICE, was convicted of the
        offenses of Complicity to Possession of a Handgun by a Convicted Felon; Theft by
        Unlawful Taking - Firearm (two counts); and Theft by Unlawful Taking over $500
        but Under $10,000.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).




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 The Grand Juiy further charges:

                                           COUNT34
                             (Possession ofan Unregistered Firearm)

        On or about March 11, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, DEVANTE RICE, knowingly received and possessed a firearm, to wit:

 a silencer, which is a firearm as defined pursuant to Title 26, United States Code, Section

 5845(a)(7), not registered to him in the National Firearms Registration and Transfer Record.

        In violation of Title 26, United States Code, Sections 5841, 586l(d), and 5871.



 The Grand Jury further charges:

                                          COUNT35
                              (Possession of Unregistered Firearm)

        On or about March 11, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, DEVANTE RICE, knowingly received and possessed a firearm, to wit:

 a Rock River Arms Inc., model LAR 15, 5.56 caliber short barrel rifle, bearing serial number

 AP127614, with a barrel measuring less than 16 inches, not registered to him in the National

 Firearms Registration and Transfer Record.

        In violation of Title 26, United States Code, Sections 5841, 5861(d), and 5871.



 The Grand Jmy further charges:

                                            COUNT36
                                     (Distribution ofFentanyl)

        On or about March 20, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly and intentionally distributed a

 mixture and substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-



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 piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II controlled substance as

 defined in Title 21, United States Code, Section 812.

        In violation of Title 21, United States Code, Sections 841(a)(l), and (b)(l)(C).



 The Grand Jury further charges:

                                          COUNT37
                   (Possession ofa Firearm in Furtherance ofDrug Trafficking)

        On or about March 20, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed a firearm in furtherance

 of a drug trafficking crime for which he may be prosecuted in a court of the United States.

        ,In violation of Title 18, United States Code, Section 924(c)(l)(A).



 The Grand Jury further charges:

                                            COUNT38
                         (Possession of a Firearm by a Prohibited Person)

        On or about March 20, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed, in and affecting

 commerce, an Anderson Manufacturing, model AM-15, multi-caliber rifle, bearing serial number

 18176785, and ammunition, with knowledge that he had previously been convicted in a court of a

 crime punishable by imprisonment for a term exceeding one year, to wit:

        On or about March 30, 2018, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 14-CR-3165, MARK FOSTER, JR., was convicted of
        the offenses of Receiving Stolen Property (Firearm), and Illegal Possession of a
        Controlled Substance in the First Degree, Heroin; and




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        On or about June 15, 2021, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 17-CR-0737, MARK FOSTER, JR., was convicted of the
        offenses of Complicity to Trafficking in a Controlled Substance in the First Degree,
        Opioids; Complicity to Trafficking in a Controlled Substance in the First Degree,
        Methamphetamine; Possession of a Handgun by a Convicted Felon; and Tampering
        with Physical Evidence.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



 The Grand Jury further charges:

                                          COUNT39
                        (Possession ofa Firearm by a Prohibited Person)

        On or about March 25, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, DEVANTE RICE, knowingly possessed, in and affecting commerce, a

 Bersa, model BAR9, 9 millimeter pistol, bearing serial number ABA0430; an HS Produkt, model

 XDE, .45 caliber pistol, bearing serial number HEll 1742; a Smith & Wesson, model M&P 9

 Shield, 9 millimeter pistol, bearing serial number NKC2123; and ammunition, with knowledge

 that he had previously been convicted in a court of a crime punishable by imprisonment for a term

 exceeding one year, to wit

        On or about January 10, 2014, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 13-CR-2145, DEVANTE RICE, was convicted of the
        offenses of Burglary in the Second Degree, and Receiving Stolen Property over
        $500;

        On or about April 30, 2019, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 18-CR-1452, DEVANTE RICE, was convicted of the offense of
        Possession of a Handgun by a Convicted Felon; and

        On or about August 8, 2023, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 22-CR-0770, DEVANTE RICE, was convicted of the
        offenses of Complicity to Possession of a Handgun by a Convicted Felon; Theft by
        Unlawful Taking - Firearm (two counts); and Theft by Unlawful Taking over $500
        but Under $10,000.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



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 The Grand Jury further charges:

                                          COUNT40
                        (Possession ofa Firearm by a Prohibited Person)

        On or about April 1, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, DEVANTE RICE, knowingly possessed, in and affecting commerce, a

 Just Right Carbines, model JR Carbine, 9 millimeter rifle, bearing serial number JRCV096428; a

 Chiappa Firearms LTD, model 1911-22, .22 caliber pistol, bearing serial number 13G05528; a

 Ruger, model LCP, .380 caliber pistol, bearing serial number 371034778; a Glock, model 43, 9

 millimeter pistol, bearing serial number BHYN00l; a Taurus, model 85, .38 special revolver,

 bearing serial number IW73012; a Taurus, model PTl 11 G2c, 9 millimeter pistol, bearing serial

 number ADB015371; an HS Produkt, model XD9, 9 millimeter pistol, bearing serial number

 BB518774; and ammunition, with knowledge that he had previously been convicted in a court of

 a crime punishable by imprisonment for a term exceeding one year, to wit:

        On or about January 10, 2014, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 13-CR-2145, DEVANTE RICE, was convicted of the
        offenses of Burglary in the Second Degree, and Receiving Stolen Property over
        $500;

        On or about April 30, 2019, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number l 8-CR-1452, DEVANTE RICE, was convicted of the offense of
        Possession of a Handgun by a Convicted Felon; and

        On or about August 8, 2023, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 22-CR-0770, DEVANTE RICE, was convicted of the
        offenses of Complicity to Possession of a Handgun by a Convicted Felon; Theft by
        Unlawful Taking - Firearm (two counts); and Theft by Unlawful Taking over $500
        but Under $10,000.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).




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 The Grand Jury further charges:

                                            COUNT41
                                     (Distribution ofFentanyl)

        On or about April 7, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly and intentionally distributed a

 mixture and substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-

 piperidinyl] propanamide, commonly known as "fentanyl," a Schedule II controlled substance as

 defined in Title 21, United States Code, Section 812.

        In violation of Title 21, United States Code, Sections 841(a)(l), and (b)(l)(C).



 The Grand Jury further charges:

                                            COUNT42
                               (Illegal Possession ofa Machine Gun)

        On or about April 7, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., did knowingly possess a machine gun, that is, a

 Glock Switch, bearing no serial number.

        In violation of Title 18, United States Code, Sections 922(0) and 924(a)(2).



 The Grand Jury further charges:

                                           COUNT43
              (Possession of a Firearm in Furtherance ofa Drug Trafficking Crime)

        On or about April 7, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., did knowingly possess a firearm, that is, a Glock

 Switch, bearing no serial number, in furtherance of a drug trafficking crime for which he may be

 prosecuted in a court of the United States.

        In violation of Title 18, United States Code, Section 924(c)(1 )(B)(ii).

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 The Grand Jury further charges:

                                          COUNT44
                        (Possession ofa Firearm by a Prohibited Person)

        On or about April 7, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, MARK FOSTER, JR., knowingly possessed, in and affecting

 commerce, a Tisas, model PX-5.7, 5.7 caliber pistol, bearing serial number T0620-24DJ06300,

 and ammunition, with knowledge that he had previously been convicted in a court of a crime

 punishable by imprisonment for a term exceeding one year, to wit:

        On or about March 30, 2018, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 14-CR-3165, MARK FOSTER, JR., was convicted of
        the offenses of Receiving Stolen Property (Firearm), and Illegal Possession of a
        Controlled Substance in the First Degree, Heroin; and

        On or about June 15, 2021, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 17-CR-0737, MARK FOSTER, JR., was convicted of the
        offenses of Complicity to Trafficking in a Controlled Substance in the First Degree,
        Opioids; Complicity to Trafficking in a Controlled Substance in the First Degree,
        Methamphetamine; Possession of a Handgun by a Convicted Felon; and Tampering
        with Physical Evidence.

        In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



 The Grand Jury further charges:

                                           COUNT45
                        (Possession of a Firearm by a Prohibited Person)

        On or about April 7, 2025, in the Western District of Kentucky, Jefferson County,

 Kentucky, the defendant, DEVANTE RICE, knowingly possessed, in and affecting commerce, a

 Glock, model 17, 9 millimeter pistol, bearing serial number BUAK012; a Glock, model 48, 9

 millimeter pistol, bearing serial number BWDW354; a Smith & Wesson, model M&P 380 Shield,

 .380 caliber pistol, bearing serial number NMX5564; a Derya, model DY9, 9 millimeter pistol,

 bearing serial number TG970-24L21979; a Glock, model 19, 9 millimeter pistol, bearing serial


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 number BSXD429; a Smith & Wesson, model M&P 9C, 9 millimeter pistol, bearing serial number

 HZR2303; a Ruger, model P95, 9 millimeter pistol, bearing serial number 317-62932; a Glock,

 model 43X, 9 millimeter pistol, bearing serial number CEFN564; an FN, model 509, 9 millimeter

 pistol, bearing serial number GKS0262328; and ammunition, with knowledge that he had

 previously been convicted in a court of a crime punishable by imprisonment for a term exceeding

 one year, to wit:

        On or about January 10, 2014, in Jefferson Circuit Court, Jefferson County,
        Kentucky, in Case Number 13-CR-2145, DEVANTE RICE, was convicted of the
        offenses of Burglary in the Second Degree, and Receiving Stolen Property over
        $500;

        On or about April 3 0, 2019, in Jefferson Circuit Court, Jefferson County, Kentucky,
        in Case Number 18-CR-1452, DEVANTE RICE, was convicted of the offense of
        Possession of a Handgun by a Convicted Felon; and

         On or about August 8, 2023, in Jefferson Circuit Court, Jefferson County,
         Kentucky, in Case Number 22-CR-0770, DEVANTE RICE, was convicted of the
         offenses of Complicity to Possession of a Handgun by a Convicted Felon; Theft by
         Unlawful Taking -Firearm (two counts); and Theft by Unlawful Taking over $500
         but Under $10,000.

         In violation of Title 18, United States Code, Sections 922(g)(l) and 924(a)(8).



                                    NOTICE OF FORFEITURE

         As a result of committing offenses in violation of Title 21, United States Code, Sections

 84l(a)(l), and 841(b)(l), as specifically charged in this Indictment, felonies punishable by

 imprisonment for more than one year, the defendant, MARK FOSTER, JR., shall forfeit to the

 United States, pursuant to Title 21, United States Code, Section 853, any property constituting, or

 derived from, proceeds obtained, directly or indirectly, as a result of said violations and any

 property used, or intended to be used, in any manner or part, to commit, or to facilitate the

 commission of the said violations (including but not limited to all firearms and ammunition).



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        As a result of committing offenses in violation of Title 18, United States Code, Sections

 922(g)(l), 922(0), 924(a)(2), 924(a)(8), 924(c), and 933, and Title 26, United States Code,

 Sections 5841, 5861(d), and 5871, as specifically charged in this Indictment, the defendants,

 MARK FOSTER, JR. and DEVANTE RICE, shall forfeit to the United States, pursuant to Title

 18, United States Code, Section 924(d), Title 26, United States Code, Sections 5872, and Title 28,

 United States Code, Section 2461, all firearms, magazines, and ammunition involved in the

 commission of said offenses, including but not limited to: a Smith & Wesson, model Governor,

 .45 caliber revolver, bearing serial number DJT7466; a Glock, model 17, 9 millimeter pistol,

 bearing serial number LB490; a Taurns, model G2c, 9 millimeter pistol, bearing serial number

 TMS50575; an FN, model 509, 9 millimeter pistol, bearing serial number GKS0098548; an

 Anderson Manufacturing, model AM-15, multi-caliber rifle, bearing serial number 19273280; a

 Glock, model l 9x, 9 millimeter pistol, bearing serial number BYNB520; a Glock, model 19x, 9

 millimeter pistol, bearing serial number CBGB384; a Glock, model 19, 9 millimeter pistol, bearing

 serial number ABTL244; a Glock, model 43, 9 millimeter pistol, bearing serial number BBAP626;

 a Sig Sauer, model P320, 9 millimeter pistol, bearing serial number 58H076852; a Glock, model

 43, 9 millimeter pistol, bearing serial number ADER051; a Sig Sauer, model P320, 9 millimeter

 pistol, bearing serial number M18A101018; a Smith & Wesson, model M&P 40 Shield, .40 caliber

 pistol, bearing serial number HAW4620; a Stoeger, model STR-9C, 9 millimeter pistol, bearing

 serial number T6429-21S20675; a Taurus, model G3c, 9 millimeter pistol, bearing serial number

 ACH 140097; a Glock, model 17, 9 millimeter pistol, bearing serial number AFSY273; a Glock,

 model 19, 9 millimeter pistol, bearing serial number CBVA953; a Glock, model 17, 9 millimeter

 pistol, bearing serial number BFRB41 0; a Glock, model 48, 9 millimeter pistol, bearing serial

 number BKYU597; a Smith & Wesson, model SW40VE, .40 caliber pistol, bearing serial number

 DTT9267; a Smith & Wesson, model M&P 9 Shield, 9 millimeter pistol, bearing serial number


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 HYZ0228; an HS Produkt, model Hellcat, 9 millimeter pistol, bearing serial number BB192565;

 an HS Produkt, model XDM, .40 caliber pistol, bearing serial number MG289701; a Taurus, model

 PTl 11 Millennium G2, 9 millimeter pistol, bearing serial number TKU30350; a Glock, model

 43X, 9 millimeter pistol, bearing serial number BTGC189; a Smith & Wesson, model 42, .38

 caliber revolver, bearing serial number 16362; a Smith & Wesson, model SW40VE, .40 caliber

 pistol, bearing serial number DXA0IOl; a Taurus, model GX4, 9 millimeter pistol, bearing serial

 number IGA73760; a Smith & Wesson, model M&P 45 Shield, .45 caliber pistol, bearing serial

 number HUB5601; a Ruger, Model LCP II, .380 caliber pistol, bearing serial number 380609706;

 a Glock, model 48, 9 millimeter pistol, bearing serial number BKMV144; a Glock, model 26, 9

 millimeter pistol, bearing serial number VCZ160; a Taurus, model G2C, 9 millimeter pistol,

 bearing serial number TMW76065; a Glock, model 23, .40 caliber pistol, bearing serial number

 FHG482; a Smith & Wesson, model M&P 9 Shield, 9 millimeter pistol, bearing serial number

 JBV9885; an FN, model 509, 9 millimeter pistol, bearing serial number GKS0185799; a Glock,

 model 19X, 9 millimeter pistol, bearing serial number BURM452; a Stoeger, model STR-9, 9

 millimeter pistol, bearing serial number T6429-21U12019; an HS Produkt, model XD9, 9

 millimeter pistol, bearing serial number BA150108; an HS Produkt, model XDS, 9 millimeter

 pistol, bearing serial number BB295666; a Taurus, model G2c, 9 millimeter pistol, bearing serial

 number TMA69477; a Rock River Arms Inc., model LAR 15, 5.56 caliber short barrel rifle,

 bearing serial number AP 127614; an Anderson Manufacturing, model AM-15, multi-caliber rifle,

 bearing serial number 18176785; a Bersa, model BAR9, 9 millimeter pistol, bearing serial number

 ABA0430; an HS Produkt, model XDE, .45 caliber pistol, bearing serial number HEl 11742; a

 Smith & Wesson, model M&P 9 Shield, 9 millimeter pistol, bearing serial number NKC2123; a

 Just Right Carbines, model JR Carbine, 9 millimeter rifle, bearing serial number JRCV096428; a

 Chiappa Firearms LTD, model 1911-22, .22 caliber pistol, bearing serial number 13G05528; a


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 Ruger, model LCP, .380 caliber pistol, bearing serial number 371034778; a Glock, model 43 , 9

 millimeter pistol, bearing serial number BHYN00l ; a Taurus, model 85, .38 special revolver,

 bearing serial number IW73012; a Taurus, model PTl 11 G2c, 9 millimeter pistol, bearing serial

 number ADB015371 ; an HS Produkt, model XD9, 9 millimeter pistol, bearing serial number

 8B518774; a Glock Switch; a Tisas, model PX-5.7, 5.7 caliber pistol, bearing serial number

 T0620-24DJ06300; a Glock, model 17, 9 millimeter pistol, bearing serial number BUAK.012; a

 Glock, model 48, 9 millimeter pistol, bearing serial number BWDW354; a Smith & Wesson,

 model M&P 380 Shield, .380 caliber pistol, bearing serial number NMX5564; a De1ya, model

 DY9, 9 millimeter pistol, bearing serial number TG970-24L21979; a Glock, model 19, 9

 millimeter pistol, bearing serial number BSX:0429; a Smith & Wesson, model M&P 9C, 9

 millimeter pistol, bearing serial number HZR2303 ; a Ruger, model P95, 9 millimeter pistol,

 bearing serial number 317-62932; a Glock, model 43X, 9 millimeter pistol, bearing serial number

 CEFN564; an FN, model 509, 9 millimeter pistol, bearing serial number GKS0262328; a silencer;

 and assorted ammunition.

                                                           A TRUE BILL.




 MICHAEL A. BENNETT
 UNITED STATES ATTORNEY

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 UNITED STATES OF AMEIUCA v. MARK FOSTER, JR. and DEVANTE RJCE

                                                             PENALTIES

 Count I:               NL 10 yrs./NM Life/$10,000,000/both/NL 5yrs. Supervised Release (methamphetamine)
                        (NL 15 yrs./NM Life/$20,000,000/both/NL IO yrs./NM Life Supervised Release (with notice of one prior
                        conviction))
                        NL 5 yrs./NM 40 yrs./$5,000,000/both/NL 4yrs. Supervised Release (fentanyl)
                        (NL IO yrs./NM Life/$8,000,000/both/NL 8 yrs./NM Life Supervised Release with notice of one prior conviction)
 Counts 2, 6,           NL 5 yrs./NM 40 yrs./$5,000,000/both/NL 4yrs. Supervised Release (each count)
 10, 14, 16, 20,        (NL 10 yrs./NM Life/$8,000,000/both/NL 8 yrs./NM Life Supervised Release with notice of one prior conviction)
 25, 30:                ( each count)
 Counts 3, 8, 9,        NM 15 yrs./$250,000/both/NM 3 yrs. Supervised Release (each count)
 11, 12, 13, 15,
 18, 19, 21, 23,
 24, 27, 28, 29,
 31, 32, 33, 38,
  39, 40, 44, 45:
 Count 4:               NL 5 yrs./NM 40 yrs./$5,000,000/both/NL 4yrs. Supervised Release (fentanyl)
                        (NL IO yrs./NM Life/$8,000,000/both/NL 8 yrs./NM Life Supervised Release with notice of one prior conviction)
                        NM 20 yrs./$1,000,000/both/NL 3yrs. Supervised Release (heroin)
                         (NM 30 yrs./$2,000,000/both/NL 6 yrs. Supervised Release with notice of one prior conviction)
 Counts 36, 41:         NM 20 yrs./$1,000,000/both/NL 3yrs. Supervised Release (each count)
                        (NM 30 yrs./$2,000,000/both/NL 6 yrs. Supervised Release with notice of one prior conviction) (each count)
 Counts 5, 7,           NL 5 years consecutive/$250,000/both/NM 5 yrs. Supervised Release (each count)
 17, 22, 26, 37:
 Counts 34, 35:         NM 10 yrs./NM $10,000/both/NM 3 yrs. Supervised Release (each count)
 Count 42:              NM 10 yrs./$250,000/both/NM 3 yrs. Supervised Release
 Count 43:              NL 30 yrs./NM Life/$250,000/both/NM 5 yrs. Supervised Release
 FORFEITURE

                                                                 NOTICE

 ANY PERSON CONVICTED OF AN OF.FENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO SPECIAL
 ASSESSMENTS, FINES, RESTITUTION & COSTS.


 SPECIAL ASSESSMENTS

 18 U.S.C. § 3013 requires that a special assessment shall be imposed for each count ofa conviction ofoffenses committed after
 November 11, 1984, as follows:

            Misdemeanor:             $ 25 per count/individual              Felony:         $100 per count/individual
                                     $ I 25 per count/other                                 $400 per count/other



 In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unless the court
 issues an order requiring payment by a date certain or sets out an installment schedule. You shall provide the United States Attorney's
 Office with a current mailing address for the entire period that any part of the fine remains unpaid, or you may be held in contempt of
 court. 18 U.S.C. § 3571, 3572, 361 I, 3612

 Failure to pay fine as ordered may subject you to the following:

            I.      INTEREST and PENALTIES as applicable by law according to last date of offense.

                        For offenses occurring after December 12. 1987:

                        No INTEREST will accrue on fines under $2,500.00.

                        INTEREST will accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
                        the time of sentencing. This rate changes monthly. Interest accrues from the first business day
                        following the l\vo week period after the date a fine is imposed.
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                      PENALTIES of:

                      I 0% of fine balance if payment more than 30 days late.

                      15% of fine balance if payment more than 90 days late.

           2.         Recordation of a LIEN shall have the same force and effect as a tax lien.

           3.         Continuous GARNISHMENT may apply until your fine is paid.

           18 u.s.c. §§ 3612, 3613

                      If you WILLFULLY refuse to pay your fine, you shall be subject to an ADDITIONAL FINE
                      ofnot more than the greater of $10,000 or 1:\vice the unpaid balance of the fine; or
                      IMPRISONMENT fornot more than 1 year or both. 18 U.S .C. § 3615


 RESTITUTION

 If you are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to make
 restitution to any victim of the offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. § 3663

 APPEAL

 If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shall require:

            I.        That you deposit the entire fine amount (or the amount due under an installment schedule
                      during the time of your appeal} in an escrow account with the U.S. District Court Clerk, or

           2.         Give bond for payment thereof.

           18 u.s.c. § 3572(g)

 PAYMENTS

 If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be made payable
 to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

                      LOUISVILLE:                      Clerk, U.S. District Court
                                                       106 Gene Snyder U.S. Courthouse
                                                       601 West Broadway
                                                       Louisville, KY 40202
                                                       502/625-3500

                      BOWLING GREEN:                   Clerk, U.S. District Court
                                                       120 Federal Building
                                                       241 East Main Street
                                                       Bowling Green, KY 42101
                                                       270/393-2500

                      OWENSBORO:                       Clerk, U.S. District Court
                                                       126 Federal Building
                                                       423 Frederica
                                                       Owensboro, KY 42301
                                                       270/689-4400

                      PADUCAH:                         Clerk, U.S. District Court
                                                       127 Federal Building
                                                       501 Broadway
                                                       Paducah, KY 42001
                                                       270/415-6400

 If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.
